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FOR THE DISTRICT OF NEW JERSEY
CONSUELO ROMERO-PELAEZ,
Civil Action No. 3:18-cv-13565-BRM-ZNQ

Plaintiff
WALMART; JOHN DOE 1-5
(fict.name); and ABC COMPANY/
CORPORATION 1-5 (fict.name), : CERTIFICATION OF COUNSEL

Defendant.

Frank J. Shamy, Esquire, on full age, being duly sworn according to law, certifies as follows:

1. [am an attorney-at-law in the State of New Jersey and the principal of the Law Office
of Frank J. Shamy, LLC, which office represents plaintiff, Consuelo Romero-Pelaez, with regard to
the within captioned matter. | make this Certification based upon first-hand knowledge, and in
support of plaintiff's instant Notice of Motion to compel the deposition of non-party, Craig York,
to take place at the Law Office of Frank J. Shamy, LLC on April 28, 2020 at 10:00 a.m.

2. Fed.R.Civ.Pro.37(a}(1) requires the undersigned, as movant with regard to the instant
application to provide a Certification delineating the good faith effort made by movant in an

attempt to obtain the requested discovery without necessity of filing a formal Notice of Motion.

This Certification is being submitted in compliance therewith.

 

3. Non-party witness Craig York is the object of this instant application, which seeks to
compel his deposition. The undersigned is unable to confer directly with Mr. York, as previous
correspondence to Mr. York by certified mail was returned with the notation “unclaimed”.

Additionally, while previous correspondence sent via regular mail to Mr. York by this office was

 

not returned, Mr. York also did not contact this office in response to that correspondence, nor
advise this office as to whether he would or would not be appearing for deposition. As this office
is not in receipt of any other contact information for Mr. York (i.¢., email address and/or

telephone number), and since Mr. York has not been responsive to correspondence sent by this
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office to him, it is impossible for the undersigned to confer with Mr. York directly in an attempt
to resolve this issue. |

4, However, the undersigned did personally confer with defense counsel, Alexandra
Saites, in an attempt to determine whether this discovery issue could potentially be resolved
informally between the parties. Specifically, on March 5, 2020, in the afternoon, the undersigned .
spoke directly with Ms. Saites and discussed with her whether she believed there was any
procedure through which this issue could be resolved prior to the filing of a formal Motion.
However, Ms. Saites indicated that she had previously supplied the last known address of Mr.
York; that Mr. York was no longer employed by defendant at any location and/or in any capacity;
that she was not aware of any other address for Mr. York, other than the last known address
previously provided; and that she was not aware of any other potential contact information for
Mr. York. Additionally, Ms. Saites indicated that since defendant had no control over Mr. York
and/or the ability to produce him for deposition, there were no steps which defendant could take
to assist in plaintiff obtaining the deposition of Mr. York or in an effort to resolve this matter
informally. Accordingly, the instant Notice of Motion is required.

l certify that the foregoing statements made by me are true | certify that the foregoing

 

statements made by be are true, | am aware that if any of the foregoing statements made by me

are willfully false, | am subject to punishment.

 
 

pn onypse E OF FRANK J, SHAMY, LLC

 

Dated: March 10, 2020 FRANK Cie ESQUIRE
_ No. 616731987

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Counsel for Plaintiff, Consuelo Romero-Pelaez

    
